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                   UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA


  (1) JOYCE HAMTPON, INDIVIDUALLY      )
  AND AS SURVIVING SPOUSE OF HARRY )
  PAYNE HAMPTON, DECEASED              )
                                       )
             Plaintiff,                )                 Northern District Case No:
                                       )                 4:20-cv-00472-CVE-FHM
  v.                                   )
                                       )
  (1) RIGHT-AT-HOME TULSA D/B/A        )                 Removed From:
  RIGHT AT HOME, a foreign corporation )
  (2) JANE DOE, an Oklahoma citizen,   )                 Tulsa County District Court
  (3)RIGHT-AT-HOME, LLC;               )                 Case No. CJ-2020-2435
  (4)RIGHT-AT-HOME, INC.               )
                                       )
             Defendants.               )                 JURY TRIAL DEMANDED



                                 NOTICE OF REMOVAL


        TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO THE PARTIES

  AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE THAT, Pursuant to 28 U.S.C. §1441, Defendants Right-

  At-Home d/b/a Right At Home, Right-At-Home, LLC and Right-At-Home, Inc.

  (collectively referred to herein as these “Defendants”) hereby remove the State Court

  Action, Joyce Hampton, individually and as surviving spouse of Harry Payne Hampton,

  deceased vs. Right-AT-Home Tulsa d/b/a Right at Home, et al., Case No. CJ-2020-2435,

  from the District Court of Tulsa County, State of Oklahoma, to this Court. Pursuant to

  LCvR 81.2(a), a copy of the State Court Action docket sheet and all documents filed in the


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  State Court Action are attached as Exhibits 1, 2 and 3. There is no scheduling order in the

  State Court Action. There are no motions pending in the State Court Action.

                                        JURISDICTION

         These Defendants have the right to remove the State Court Action to Federal Court,

  pursuant to 28 U.S.C. §§ 1332 and 1441, because there exists complete diversity of all

  parties joined and the amount in controversy exceeds the jurisdictional minimum of

  $75,000, exclusive of interest and costs. This Notice of Removal is filed within thirty (30)

  days of service on these Defendants and is timely. 28 U.S.C. § 1446(b)(1). Further, all

  Defendants served with legal process in the State Court Action consent to removal. 28

  U.S.C. §1446(b)(2)(A).

                                         I. DIVERSITY

         Jurisdiction depends upon the state of things at the time of the filing of the Petition.

  Grupo Dataflux v. Atlas Global Group, L.P., 541 U.S. 567 (2004). According to the

  Petition, Plaintiff is a resident of Oklahoma. (Petition, p. 1, ¶ 1, Exhibit 2). The Defendants

  are diverse in their citizenship as set forth in the following table:



           Defendant              Citizenship for                         Authority
                               Purposes of Diversity
   Right-at- Home Tulsa d/b/a Kansas                           Petition, p. 1, ¶ 2, Exhibit B
   Right at Home
   Right at Home, LLC         Delaware                         Petition, p. 2, ¶ 4, Exhibit B
   Right at Home, Inc.        Nebraska                         Petition, p. 2, ¶ 5, Exhibit B




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                            II. AMOUNT IN CONTROVERSY

         The jurisdictional minimum for the amount in controversy is met as Plaintiff

  affirmatively states in her Petition that she seeks damages in excess of $75,000 (Petition,

  p. 2, ¶ 9, Exhibit 2).

                 III. PROCEDURAL REQUIREMENTS FOR REMOVAL

         This Notice of Removal is timely filed with this Court, pursuant to 28 U.S.C. §

  1446(b), because 30 days have not elapsed since the last of these Defendants was served.

  Additionally, pursuant to the same Federal Statute, one year has not elapsed since the

  commencement of this action. Lastly, removal is being made to the proper Federal District

  Court. The pertinent language of 28 U.S.C. § 1446(a) provides that the Defendant shall file

  the Notice of Removal in “[T]he District Court of the United States for the district and

  division within which such action is pending.” 28 U.S.C. § 1446(a). This matter is being

  removed from the District Court of Kingfisher County, State of Oklahoma. The Western

  District of Oklahoma includes Kingfisher County. See 28 U.S.C. § 116(c). Therefore,

  removal to this Court is proper.

         Pursuant to 28 U.S.C. § 1446(d), these Defendants will serve written notice of the

  filing of this Notice of Removal upon Plaintiff, and will file a copy of the Notice of

  Removal with the Clerk of the District Court in and for Kingfisher County, State of

  Oklahoma.

                                       CONCLUSION

         This case is proper for removal to this Court based upon diversity of citizenship.

  Plaintiff is a citizen of Oklahoma and all Defendants joined in this lawsuit have citizenship

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  outside of Oklahoma. The amount of damages Plaintiff seeks exceeds the amount in

  controversy threshold. This Notice of Removal is timely filed. Therefore, all requirements

  for jurisdiction in this Court are satisfied.

                                                  Respectfully Submitted,

                                                  s/Andrew B. Morsman
                                                  Andrew B. Morsman, OBA #10911
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                                                  Attorneys for Defendants


                                CERTIFICATE OF SERVICE
        This is to certify that on the 24th day of September 2020, a true, correct and exact
  copy of the above and foregoing instrument was mailed, to:


  Taylor, Foster, Mallett, Downs, Ramsey
  Darrell W. Downs
  Jacob R. Daniel
  400 West Fourth Street
  PO Box 309
  Claremore, Oklahoma 74018
  ddowns@soonerlaw.com
  jdaniel@soonerlaw.com
  Attorneys for Plaintiff



                                                  s/Andrew B. Morsman
                                                  Andrew B. Morsman




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